Case 1:17-cr-00106-TSE Document 221 Filed 07/13/18 Page 1 of 1 Page|D# 1593

IN 'I`H`E UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTR!CT OF VIRGINIA
Alcxandriu Division
UNITED STATES OF AMERICA,
Criminal No. 1:17~CR-106

LAMONT KORTEZ GAlNES,
Defendant.

)
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v- )
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)
This matter is before the Court for defendant’s sentencing. The Fourth Circuit is preparing
to re-hear en banc Um`ted Srare.s' v. Simms, No. 15-4640, a case in which the Fourth Circuit will be
presented with the questions (i) whether conspiracy to commit Hobbs Act robbery is a crime of
violence, and (ii) whether §924(0)(3)(B) is unconstitutionally vague The Fourth Circuit is also
holding Um`red Srares v. Ali, No. 15-4433, in abeyance pending resolution of Simm\~. Ali presents
the question whether substantive Hobbs Act robbery is a crime of violcnee. 'l`he Founh Cireuit‘s
decision in Simms or Ali could be dispositive here, as it would determine whether Hobbs Act
robbery is a crime of violence and whether § 924(e)‘s residual clause is constitutional
Accordingly_. for good cause shown.
lt is hereby ORDERED that this matter is STAYED until the Fourt.h Cireuit issues a
decision Simms.
It is further ORDERED that the parties arc directed to notify the Cou:t when a decision is
reached in Simms.

The Clerk is directed to send a copy of this Order to all counsel of record and to place this

matter among the inactive matters.

Alexandria. Virginia /s/
July 13, 2018 ‘l`. S. Ellis,l '
United States D' 'ct ge

 

